73 F.3d 357NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Frank M. GASTER, Plaintiff-Appellant,v.Parker EVATT, Commissioner, South Carolina Department ofCorrections;  Members of the South Carolina Boardof Corrections, Defendants-Appellees.
    No. 94-7061.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 14, 1995.Decided Dec. 21, 1995.
    
      Frank M. Gaster, Appellant Pro Se.  Larry Cleveland Batson, Robert Eric Petersen, Barbara Murcier Bowens, SOUTH CAROLINA DEPARTMENT OF CORRECTIONS, Columbia, South Carolina, for Appellees.
      Before ERVIN, Chief Judge, and WIDENER and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Gaster v. Evatt, No. CA-92-2526-3-20AJ (D.S.C. Sept. 7, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    